           Case 1:21-mi-55555-JPB Document 535-7 Filed 04/24/23 Page 1 of 4

      MILTON D. KIDD                                                  May 05, 2022
      IN RE GEORGIA SENATE BILL 202                                              1

·1· · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · FOR THE NORTHERN DISTRICT OF GEORGIA
·2

·3

·4·    IN RE· · · · · · · · · · · · )
· ·    · · · · · · · · · · · · · · ·)
·5·    · ·GEORGIA SENATE BILL 202· ·)
· ·    · · · · · · · · · · · · · · ·)
·6·    · · · · ·Plaintiff,· · · · · )
· ·    vs.· · · · · · · · · · · · · )· Civil Action No.
·7·    · · · · · · · · · · · · · · ·)· 1:21:MI-55555-JPB
· ·    · · · · · · · · · · · · · · ·)
·8·    · · · · ·Defendants.· · · · ·)
· ·    · · · · · · · · · · · · · · ·)
·9·    - - - - - - - - - -· - - - - )

10

11· · · · · · · · · · · · DEPOSITION OF

12· · · · · · · · · · · ·MILTON D. KIDD

13

14· · · · · Thursday, May 5, 2022, 10:09 a.m.(EST)

15

16

17

18· · · · · HELD AT:

19

20·    ·   ·   ·   ·   ·   ·Thompson Hine LLP
· ·    ·   ·   ·   ·   ·   ·Two Alliance Center
21·    ·   ·   ·   ·   ·   ·3560 Lenox Road, Suite 1600
· ·    ·   ·   ·   ·   ·   ·Atlanta, Georgia· 30326
22

23

24· · · ·---------------------------------------------
· · · · · · WANDA L. ROBINSON, CRR, CCR, No. B-1973
25· · · · Certified Shorthand Reporter/Notary Public


                                                              800.211.DEPO (3376)
                                                              EsquireSolutions.com
      Case 1:21-mi-55555-JPB Document 535-7 Filed 04/24/23 Page 2 of 4

   MILTON D. KIDD                                                May 05, 2022
   IN RE GEORGIA SENATE BILL 202                                          136

·1· · · ·A· · Twenty-five.
·2· · · ·Q· · And how many advanced voting sites do you
·3· have for the May 2022 primary?
·4· · · ·A· · Seven.
·5· · · ·Q· · Do you have these self-service water
·6· receptacles at those seven advanced voting sites?
·7· · · ·A· · No.
·8· · · ·Q· · Why not?
·9· · · ·A· · Because I don't have the personnel to set
10· them up and continually monitor them.
11· · · ·Q· · Will you have the self-service water
12· receptacles at the 25 polling places on Election Day
13· for the May primary?
14· · · ·A· · No.· That is not the activities that would
15· typically be performed by my office.
16· · · · · · MS. LaROSS:· Objection as to form.
17· · · ·Q· · Do you know how much it would cost the
18· county to set up a water receptacle at each polling
19· place in May 2022 primary?
20· · · ·A· · I have not looked into that information.
21· · · ·Q· · Before SB-202 was passed by the General
22· Assembly, did you speak with any members of the
23· General Assembly or their staff about the line
24· warming provision in SB-202?
25· · · ·A· · Once again, in discussions of this bill


                                                         800.211.DEPO (3376)
                                                         EsquireSolutions.com
                                                                            YVer1f
      Case 1:21-mi-55555-JPB Document 535-7 Filed 04/24/23 Page 3 of 4

   MILTON D. KIDD                                                May 05, 2022
   IN RE GEORGIA SENATE BILL 202                                          137

·1· with Representative Alexander, I am confident that
·2· this particular portion did come up.
·3· · · ·Q· · And prior to the passage of SB-202, were
·4· you -- what was your opinion on this provision?
·5· · · ·A· · I did not understand this provision.· It
·6· was very useful for Douglas County to be able to
·7· have external organizations take these features and
·8· not have to worry about that as an organizational
·9· function with all that is going on at a polling
10· location.
11· · · · · · MS. LaROSS:· Objection as to form.
12· · · ·Q· · Before SB-202 was passed by the General
13· Assembly, did you discuss this provision of SB-202
14· with anyone from the Secretary of State's Office?
15· · · ·A· · Yes.
16· · · ·Q· · Do you remember who you spoke to?
17· · · ·A· · The State Elections Director and his
18· staff.· Once again, we were all aware of previous
19· incarnations of the bill and the final passage of
20· the bill and routinely discussed --
21· · · · · · MS. LaROSS:· Objection --
22· · · ·A· · -- as it was moving through the
23· legislation.
24· · · · · · MS. LaROSS:· Objection as to form.
25· · · ·Q· · The discussions that you just mentioned


                                                         800.211.DEPO (3376)
                                                         EsquireSolutions.com
                                                                            YVer1f
        Case 1:21-mi-55555-JPB Document 535-7 Filed 04/24/23 Page 4 of 4

     MILTON D. KIDD                                                May 05, 2022
     IN RE GEORGIA SENATE BILL 202                                          216

·1· · · · · · · · · · C E R T I F I C A T E

·2

·3· STATE OF GEORGIA:

·4· FULTON COUNTY:

·5

·6· · · · · · ·I hereby certify that the foregoing

·7· transcript of MILTON D. KIDD was taken down, as

·8· stated in the caption, and the questions and answers

·9· thereto were reduced by stenographic means under my

10· direction;

11· · · · · · That the foregoing Pages 1 through

12· 215 represent a true and correct transcript of

13· the evidence given upon said hearing;

14· · · · · · And I further certify that I am not of kin

15· or counsel to the parties in this case; am not in

16· the regular employ of counsel for any of said

17· parties; nor am I in anywise interested in the

18· result of said case.

19

20· · · · ·IN WITNESS WHEREOF, I have hereunto

21· subscribed my name this 10th day of May, 2022.

22

23· · · · · · _____________________________________

24· · · · · · Wanda L. Robinson, CRR, CCR No. B-1973
· · · · · · · · ·My Commission Expires 10/11/2023
25


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.com
